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                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW MEXICO
                    Before the Honorable Steven C. Yarbrough
                         United States Magistrate Judge

                                      Clerk’s Minutes

                                  Oliver v. Meow Wolf, Inc.
                                     20cv237 KK/SCY

                            Thursday, April 29, 2021 at 9:30 a.m.


PLAINTIFF’S ATTORNEY PRESENT:                      Jesse Boyd
                                                   Josh Ewuing
                                                   Matthew Swamlin

DEFENDANTS’ ATTORNEYS PRESENT:                     Benjamin Allison
                                                   Breanna Contreras
                                                   Brian Clark

TYPE OF PROCEEDING: Telephonic Status Conference
                    Total Time – 30 minutes

CLERK’S MINUTES:

     The purpose of this status conference is to discuss the upcoming settlement conference.
      The Court is not on the record.
     The Court asks if the parties want to proceed to the settlement conference on 5/11/21
      given the pending motions. Mr. Allison responds and is hesitant to go forward with the
      settlement conference at this time. He notes that the defense plans to file a motion for
      spoliation. Mr. Boyd agrees that, given the status of discovery, it would be best to
      postpone the settlement conference at this time until the parties have completed more
      discovery.
     The Court will vacate the upcoming settlement conference given the pending motions and
      the parties’ current positions. The parties can reach out to chambers if/when they are
      ready to reset it. Otherwise, once the discovery motions are resolved and discovery is
      coming to a close, the Court will set status conference to discuss resetting the settlement
      conference.
     Mr. Allison addresses the status of discovery. Mr. Boyd responds.
     The Court concludes the conference.
